Case 2:19-cr-20726-PDB-RSW ECF No. 20 filed 02/12/20                    PageID.164      Page 1 of 1



                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MICHIGAN




 United States of America,

                                    Plaintiff,

 v.                                                     Case No. 2:19−cr−20726−PDB−RSW
                                                        Hon. Paul D. Borman
 Edward N. Robinson, et al.,
                                    Defendant(s),




                                       NOTICE TO APPEAR

      The following defendant(s) are hereby notified to appear: Edward N. Robinson

    The defendant(s) shall appear before District Judge Paul D. Borman at the United States
 District Court, Theodore Levin U.S. Courthouse, 231 W. Lafayette Boulevard, Detroit,
 Michigan, for the following proceeding(s):

        • PLEA HEARING: March 2, 2020 at 03:30 PM



                                       Certificate of Service

    I hereby certify that this Notice was electronically filed, and the parties and/or counsel of
 record were served.

                                                 By: s/D Tofil
                                                     Case Manager

 Dated: February 12, 2020
